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 5

 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                               IN AND FOR THE DISTRICT OF ARIZONA
 8

 9   United States of America,                             )      20-mj-08904-N/A-LAB
                                                           )
10                                                         )
11                                 Plaintiff,              )
     v.                                                    )
12                                                         )      MOTION OF JOINDER
     Amber Ortega.                                        )
13                                                         )
                                                           )
14
                                   Defendant,              )
15                                                         )

16

17           Defendant, through Counsel undersigned, moves the Court to join her case with case 20-mj-
18
     08905-N/A-DTF. Defendant seeks this joinder based on the fact that she and the Defendant in the
19
     enjoining case were arrested at the same time, have the same or similar set of facts, will present the
20
     same defense, and have the same Counsel.
21

22

23           DATED: June 4, 2021

24                                                 s/Paul Gattone
                                                   Paul Gattone
25                                                 Law Office of Paul Gattone
26                                                 Appearing for Defendant

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